     Case 8:20-cv-00089-DOC-JDE Document 71 Filed 05/04/21 Page 1 of 4 Page ID #:779



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 3
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      Pasadena, CA 91101
 5    Attorneys for Plaintiff,
 6    LITTLE ORBIT LLC

 7                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 8

 9     LITTLE ORBIT LLC, a California Limited  )    Case No.: 8:20-cv-00089-DOC-JDE
       Liability Company,                      )
10                                             )    Judge:        Hon. David O. Carter
11                   Plaintiff,                )
                                               )    DECLARATION OF M. DANTON
12            vs.                              )    RICHARDSON IN SUPPORT OF
                                               )    PLAINTIFF LITTLE ORBIT LLC’S
13
       DESCENDENT STUDIOS INC., a Texas        )    OPPOSITION TO DEFENDANTS’
14     corporation, and ERIC PETERSON, an      )    MOTION TO ENFORCE THE BINDING
       individual,                             )    SETTLEMENT TERMS SHEET, TO
15                                             )    EXTEND THE COURT’S
16                   Defendants.               )    JURISDICTION AND
                                               )
17     ________________________________ ______ )
                                               )    Date: May 24, 2021
18
       DESCENDENT STUDIOS INC., a Texas        )    Time: 8:30 a.m.
19     corporation,                            )    Ctrm: 9D
                                               )
20                   Counterclaimant,          )
21                                             )    Complaint filed: January 16, 2020
              vs.                              )
22                                             )
       LITTLE ORBIT LLC, a California Limited  )
23
       Liability Company,                      )
24                                             )
                     Counter Defendant.        )
25     ______________________________________ )
26

27
                                                1
28                                                   DECLARATION OF M. DANTON RICHARDSON IN SUPPORT OF
                                                OPPOSITION TO DEFENDANTS’ MOTION TO ENFORCE SETTLEMENT
                                                             CIVIL ACTION NO. 8:20-CV-00089-DOC-JDE
     Case 8:20-cv-00089-DOC-JDE Document 71 Filed 05/04/21 Page 2 of 4 Page ID #:780



 1

 2                          DECLARATION OF M. DANTON RICHARDSON

 3
      I, M. Danton Richardson, declare:
             1.      I am an attorney licensed to practice law in California and before this Court and I
 4
      am the attorney of record for Plaintiff Little Orbit LLC in the above-captioned matter. The facts
 5
      stated herein are within my own personal knowledge unless otherwise stated. If called to testify,
 6
      I would and could testify competently to the facts stated in this declaration.
 7
             2.      I make this declaration in support of Plaintiff’s Opposition to Defendants’ Motion
 8
      to Enforce the Binding Settlement Terms Sheet, to Extend the Court’s Jurisdiction and for an
 9
      Award of Attorneys’ Fees.
10
             3.      During the Settlement Conference in this matter the parties never discussed
11
                                                     what had already been agreed to between the
12
      parties in the Development Agreement in dispute. Rather the focus was on
13
                                          as part of the settlement. The parties never discussed the
14
      meaning of the term               nor did Defendants ever raise any claim that such term meant
15
                                                                             provided for in the
16
      Development Agreement                                                                      .
17
             4.      Likewise, the parties never discussed Black’s Law Dictionary definition of
18
                  Given the negotiations were to settle the parties’ dispute regarding the Development
19
      Agreement, any variation from that agreement needed to be expressly addressed as was the
20
                   which was ultimately agreed                                            The
21
      Development Agreement provided the foundation for the parties discussion and was a better
22
      only source for determining what
23
                   than any generic legal definition never consulted and unrelated to the Agreement in
24
      dispute.
25
      //
26    //
27
                                                       2
28                                                           DECLARATION OF M. DANTON RICHARDSON IN SUPPORT OF
                                                        OPPOSITION TO DEFENDANTS’ MOTION TO ENFORCE SETTLEMENT
                                                                   CIVIL ACTION NO. 8:20-CV-00089-DOC-JDE
     Case 8:20-cv-00089-DOC-JDE Document 71 Filed 05/04/21 Page 3 of 4 Page ID #:781



 1          5.
 2

 3

 4          I declare the foregoing to be true and correct under penalty of perjury under the laws of
 5    the United States. Executed on May 4th, 2021, in San Gabriel, California.
 6

 7
                                                      /s/ M. Danton Richardson
                                                      M. Danton Richardson, Declarant
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28                                                         DECLARATION OF M. DANTON RICHARDSON IN SUPPORT OF
                                                      OPPOSITION TO DEFENDANTS’ MOTION TO ENFORCE SETTLEMENT
                                                                 CIVIL ACTION NO. 8:20-CV-00089-DOC-JDE
     Case 8:20-cv-00089-DOC-JDE Document 71 Filed 05/04/21 Page 4 of 4 Page ID #:782



 1
                                       CERTIFICATE OF SERVICE
 2

 3
            I hereby certify that on this 4th Day of May 2021, the foregoing DECLARATION OF
      M. DANTON RICHARDSON IN SUPPORT OF PLAINTIFF LITTLE ORBIT LLC’S
 4    OPPOSITION TO DEFENDANTS’ MOTION TO ENFORCE THE BINDING
      SETTLEMENT TERMS SHEET, TO EXTEND THE COURT’S JURISDICTION AND
 5                                                    was filed with the Court’s CM/ECF system and
 6    was served on the following counsel of record via email:

 7          Michael C. Whitticar; VSB No. 32968
            NOVA IP Law, PLLC
 8
            7420 Heritage Village Plaza, Suite 101
 9          Gainesville, VA 20155
            Tel: 571-386-2980
10          Fax: 855-295-0740
11          Email: mikew@novaiplaw.com
            Counsel for Defendants
12
            NADA I. SHAMONKI (SBN 205359)
13
            MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
14          2029 Century Park East, Suite 3100
            Los Angeles, CA 90067
15          Telephone: (310) 586-3200
16          Facsimile: (310) 586-3202
            Email: nshamonki@mintz.com
17          Counsel for Defendants
18

19                                                          /s/ M. Danton Richardson
                                                              M. Danton Richardson
20

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                                                     4
28                                                        DECLARATION OF M. DANTON RICHARDSON IN SUPPORT OF
                                                     OPPOSITION TO DEFENDANTS’ MOTION TO ENFORCE SETTLEMENT
                                                                CIVIL ACTION NO. 8:20-CV-00089-DOC-JDE
